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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                              ROME DIVISION

DARLENE HOLLEY,                                      Civil Action No. 4:21-cv-109-HLM-
                                                                      WEJ
     Plaintiff,

v.                                                   JURY TRIAL DEMANDED

ULTA SALON, COSMETICS &
FRAGRANCE, INC.,

     Defendant.



                         COMPLAINT FOR DAMAGES

        COMES NOW, Plaintiff Darlene Holley (“Plaintiff” or “Ms. Holley”), by

and through undersigned counsel, and files this Complaint for Damages, showing

the Court as follows:

                           NATURE OF COMPLAINT

                                          1.

        Plaintiff brings this action for damages, liquidated damages, and reasonable

attorney fees for Defendant Ulta Salon, Cosmetics & Fragrance, Inc. (“Defendant”)

for violations of her rights under Title VII of the Civil Rights Act of 1964, as




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amended (“Title VII”) and the Civil Rights Act of 1991, 42 U.S.C. § 1981, et. seq.

(“Section 1981”).

                         JURISDICTION AND VENUE

                                             2.

      Plaintiff invokes the jurisdiction of this court pursuant to 28 U.S.C. §§ 1331

and 1343, and 42 U.S.C. § 1981.

                                             3.

      The unlawful employment practices alleged in this Complaint were

committed within this district. In accordance with 28 U.S.C. § 1391 and 42 U.S.C.

§1981, venue is appropriate in this Court.

                     ADMINISTRATIVE PROCEDURES

                                             4.

      Plaintiff has fulfilled all conditions necessary to proceed with this cause of

action under Title VII. Plaintiff filed her Charge of Discrimination with the EEOC

on April 16, 2019; the EEOC issued its Notice of Right to Sue on March 17, 2021.

                                             5.

      Plaintiff timely files this action within ninety (90) days of receipt of the

Notice of Right to Sue from the EEOC.




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                                     PARTIES

                                           6.

       Plaintiff is a female citizen of the United States of America and is subject to

the jurisdiction of this Court.

                                           7.

       At all times relevant, Defendant was qualified and licensed to do business in

Georgia, and at all times material hereto has conducted business within this

District.

                                           8.

       Defendant is now and, at all times relevant hereto, has been a limited

liability company engaged in an industry affecting commerce. During all times

relevant hereto, Defendant has employed fifteen (15) or more employees for the

requisite duration under Title VII. Defendant is therefore covered under Title VII

in accordance with 42 U.S.C. § 2000e(b).

                                           9.

       Defendant may be served with process by delivering a copy of the summons

and complaint to Prentice Hall Corporate Services, located at 2 Sun Court, Suite

400, Peachtree Corners, GA 30092.




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                         FACTUAL ALLEGATIONS

                                        10.

      Ms. Holley (African-American) began working for Defendant on or about

May 30, 2017, as a Salon Manager.

                                        11.

      Tammy Hacker was Ms. Holley’s General Manager at the Cartersville, GA

location.

                                        12.

      During Ms. Holley’s employment, she and other African-American

employees were subjected to ongoing discrimination, retaliation and harassment by

Ms. Hacker.

                                        13.

      Ms. Hacker would talk down to the African-American employees.

                                        14.

      Ms. Hacker would write African-American employees up for things for

which did not discipline the white employees.

                                        15.

      Ms. Hacker falsely accused Ms. Holley of changing the schedule.




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                                         16.

      Ms. Hacker undermined Ms. Holley’s authority in allowing a white

subordinate to use profanity towards Ms. Holley.

                                         17.

      Ms. Hacker threatened Ms. Holley’s job, claiming, “HR said I just need one

reason.”

                                         18.

      Ms. Hacker also displayed preferential treatment towards the white

employees and treated the African-American team members less favorably.

                                         19.

      Ms. Hacker was not allowed to drink water on the store, while other

employees were permitted to do so.

                                         20.

      Ms. Hacker would write African-American employees up for things for

which she did not discipline the white employees.

                                         21.

      Ms. Hacker failed to take action when a white employee assaulted both an

African-American employee, and an African-American guest, on two separate

occasions.


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                                         22.

        Ms. Holley began complaining to the former District Manager, Kerryanne

Dishman, in 2017.

                                         23.

        In early 2019, Elizabeth Allen (white) became Ms. Holley’s new District

Manager.

                                         24.

        Ms. Holley continued to complain to Ms. Allen about the ongoing

harassment and discrimination by Ms. Hacker, yet no action was taken to stop it.

                                         25.

        Ms. Hacker blamed Ms. Holley for the store missing its goal on March 16,

2019.

                                         26.

        The other department managers (white) were not blamed.

                                         27.

        Ms. Holley continued to file internal complaints with District Manager

Elizabeth Allen in March 2019.




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                                         28.

      Instead of investigating Ms. Holley’s complaints, Ms. Allen responded that

if Ms. Holley was going through so much, why didn’t she quit.

                                         29.

      Ms. Allen’s response was said in front of Ms. Hacker, which only

emboldened her to continue the discriminatory treatment.

                                         30.

      On or about April 5, 2019, Ms. Hacker gave Ms. Holley a written warning

containing false information relating to March 16, 2019.

                                         31.

      Despite Ms. Holley’s department excelling within the store, she was given a

less than favorable performance review by Ms. Hacker.

                                         32.

      On April 16, 2019, Ms. Holley filed a Charge of Discrimination with the

EEOC alleging race-based discrimination and retaliation.

                                         33.

      In or about May 2019, Ms. Holley began reporting Ms. Hacker’s actions to

Human Resources (HR).




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                                          34.

      Ms. Holley complained that Ms. Hacker was retaliating by calling her into

the office for random things during client services, which forced clients to wait and

only put her further behind.

                                          35.

      On October 27, 2019, Ms. Holley emailed a formal complaint to Gary Clark,

HR Business Partner, South Region.

                                          36.

      Ms. Holley met with Mr. Clark on or about November 14, 2019.

                                          37.

      At the meeting Mr. Clark acknowledged that Ms. Hacker had mistreated Ms.

Holley, but suggested that Ms. Holley “leave the black part out.”

                                          38.

      Ms. Holley sent another email to Gary Clark on November 15, 2019,

concerning issues with a coaching that Ms. Hacker had asked that she do for

another African-American employee.




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                                        39.

      On December 9, 2019, both Ms. Allen and Mr. Clark emailed Ms. Holley

that they would be at the store at 9 a.m. the following morning to meet with her

and Ms. Hacker.

                                        40.

      Ms. Holley had been off the three days prior to the meeting and when she

arrived, discovered clients waiting since no one had blocked off the schedule for

the meeting.

                                        41.

      At the meeting on December 10, 2019, Ms. Holley was given the option of

stepping down from her managerial role or be written up.

                                        42.

      Ms. Holley refused to step down from her position since her department’s

numbers and performance were all meeting or exceeding expectations.

                                        43.

      On or about December 13, 2019, Mr. Clark issued a write up to Ms. Holley

for allegedly poor job performance.




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                                           44.

      Ms. Holley acknowledged the write up and indicated that she felt it was

retaliation for filing a Charge of Discrimination.

                                           45.

      Despite an email from Corporate HR on December 27, 2019, acknowledging

her emailed complaint, nothing changed.

                                           46.

      Defendant was shut down for a period of time due to the COVID-19

pandemic.

                                           47.

      Ms. Holley returned to work on May 13, 2020.

                                           48.

      On July 11, 2020, Ms. Holley called and texted Ms. Hacker requesting a sick

day due to her allergies. Instead of asking additional questions of Ms. Holley, Ms.

Hacker had Caleb, the Retail Manager, called to inform Ms. Holley that she was

not to return to work for at least ten days, and that Ms. Allen would reach out to let

her know when she could return.




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                                           49.

      Ms. Hacker violated Ms. Holley’s HIPPA rights when she disclosed Ms.

Holley’s medical status to another employee.

                                           50.

      All other managers communicated only with Ms. Hacker, as the General

Manager, about scheduling and absences.

                                           51.

      Ms. Hacker did not require non-black employees who called out sick to

remain out of work for ten days.

                                           52.

      Ms. Holley called Trina Peterson Garcia, HR, after being told that she had to

wait ten days before returning to work.

                                           53.

      Ms. Peterson Garcia told Ms. Holley that Ms. Hacker had claimed that Ms.

Holley was not returning to work, i.e., that Ms. Holley had quit.

                                           54.

      It was only after Ms. Peterson Garcia called Ms. Allen and Ms. Hacker that

Ms. Holley was allowed to return to work.




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                                             55.

      Neither HR nor Ms. Allen would address Ms. Holley’s concern about Ms.

Hacker disclosing her private medical information to other employees.

                                             56.

      Ms. Holley was out of work for two days.

                                             57.

      Ms. Holley continued emailing her concerns about Ms. Hacker to HR.

                                             58.

      On or about September 23, 2020, Ms. Hacker wrote Ms. Holley and Ms.

Talerico up for an alleged Policy Failure.

                                             59.

      In approximately late September 2020, Ms. Holley was notified that the

Salon Manager position was allegedly being eliminated.

                                             60.

      Ms. Holley’s last day was October 31, 2020.

                                             61.

      Although Defendant purports to provide a legitimate non-discriminatory

reason for the adverse action, this reason is a pre-text.




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                                           62.

      Others outside of the Ms. Holley’s protected class, i.e., non-African-

American employees, received different and preferential treatment.

                             CLAIMS FOR RELIEF

       COUNT ONE: RACE DISCRIMINATION IN VIOLATION OF
           TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

                                           63.

      Plaintiff re-alleges paragraphs 10-62 as if set forth fully herein.

                                           64.

      Defendant’s actions in subjecting Plaintiff to different terms and conditions

of employment constitutes unlawful discrimination on the basis of her race

(African-American) in violation of Title VII of the Civil Rights Act of 1964, as

amended, 42 U.S.C. 2000e et seq. and 42 U.S.C. section 1981A.

                                           65.

      Defendant has willfully and wantonly disregarded Plaintiff’s rights, and its

discrimination against Plaintiff was undertaken in bad faith.

                                           66.

      The effect of the conduct complained of herein has been to deprive Plaintiff

of equal employment opportunity and has otherwise adversely affected her status

as an employee because of her race.

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                                            67.

      As a direct and proximate result of Defendant’s violation of Title VII,

Plaintiff has been made the victim of acts that have adversely affected her

economic, psychological, and physical well-being.

                                            68.

      Accordingly, Defendant is liable for the damages Plaintiff has sustained as a

result of Defendant’s unlawful discrimination.

             COUNT TWO: RETALIATION IN VIOLATION OF
              TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

                                            69.

      Plaintiff re-alleges paragraphs 10-62 as if set forth fully herein.

                                            70.

      Defendant’s actions, as detailed above, in terminating Plaintiff because of

her protected activity (complaining of race based discriminatory treatment)

constitutes unlawful intentional retaliation in violation of Title VII.

                                            71.

      Defendant willfully and wantonly disregarded Plaintiff’s rights, and

Defendant’s retaliation against Plaintiff was untertaken in bad faith.




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                                              72.

         Accordingly, Defendant is liable for the damages Plaintiff has sustained as a

result of Defendant’s unlawful retaliation.

                    COUNT THREE: RACE DISCRIMINATION
                       IN VIOLATION OF 42 U.S.C. § 1981

                                              73.

         Plaintiff re-alleges paragraphs 10-62 as if set forth fully herein.

                                              74.

         Defendant subjected Plaintiff to discrimination and harassment on the basis

of her race (African-American).

                                              75.

         Defendant’s actions in subjecting Plaintiff to different terms and conditions

of employment constitutes unlawful discrimination on the basis of race in violation

of 42 U.S.C. section 1981.

                                              76.

         The effect of the conduct was to deprive Plaintiff of economic opportunites,

and otherwise adversely effect Plaintiff’s status as an employee, because of her

race.




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                                          77.

      As a direct and proximate result of these actions, Plaintiff has been made a

victim of acts that adversely affected her psychological and physical well being.

                                          78.

      As a direct and proximate result of Defendant’s unlawful employment

practices, Plaintiff has been embarrassed, humiliated and has suffered damage to

her emotional health, and has lost back pay and front pay.

                                          79.

      Defendant has willfully and wantonly disregarded Plaintiff’s rights, and

Defendant’s discrimination against Plaintiff was undertaken in bad faith.

                                          80.

      Defendant chose not to take appropriate remedial steps to prevent or correct

the harassment.

      WHEREFORE, Plaintiff judgment as follows:

      (a)          General damages for mental and emotional suffering caused by

                   Defendant’s misconduct;

      (b)          Punitive damages based on Defendant’s willful, malicious,

                   intentional,   and   deliberate   acts,   including   ratification,

                   condonation and approval of said acts;


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      (c)          Special damages and/or liquidated damages for lost wages and

                   benefits and prejudgment interest thereon;

      (d)          Reasonable attorney’s fees and expenses of litigation;

      (e)          Trial by jury as to all issues;

      (f)          Prejudgment interest at the rate allowed by law;

      (g)          Declaratory relief to the effect that Defendant has violated

                   Plaintiff’s statutory rights;

      (h)          Injunctive relief of reinstatement, or front pay in lieu thereof,

                   and prohibiting Defendant from further unlawful conduct of the

                   type described herein; and

      (i)          All other relief to which she may be entitled.

      Respectfully submitted the 9th day of June, 2021.


                                         BARRETT & FARAHANY

                                         /s/ Adian R. Miller
                                         Adian R. Miller
                                         Georgia Bar No. 794647

                                         Attorneys for Darlene Holley

1100 Peachtree Street, N.E., Suite 500
Atlanta, GA 30309
(404) 214-0120
(404) 214-0125 Facsimile
adian@justiceatwork.com

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